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          @realDonaldTrump's post

              Donald J. Trump
              @realDonaldTrump · Mar 24

   What kind of person can charge another person, in this case a former President of
   the United States, who got more votes than any sitting President in history, and
   leading candidate (by far!) for the Republican Party nomination, with a Crime, when
   it is known by all that NO Crime has been committed, & also known that potential
   death & destruction in such a false charge could be catastrophic for our Country?
   Why & who would do such a thing? Only a degenerate psychopath that truely hates
   the USA!
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